
MELLOY, Circuit Judge,
concurring.
I concur in the court’s opinion in its entirety. However, I write separately to indicate that for the reasons discussed in my dissenting opinion in Minnesota Citizens Concerned for Life, Inc. v. Swanson, 692 F.3d 864 (8th Cir.2012) (en banc), I would find the sections of the Iowa statute and related administrative rules discussed in sections B.2 and B.3 to be constitutional. However, I also recognize that the en banc court found similar provisions to be unconstitutional in Minnesota Citizens Concerned for Life. This panel is obligated to follow the precedent established by the en banc court and, therefore, I concur in the opinion in its entirety.
